     Case 1:25-cv-00698-TSC          Document 30    Filed 03/19/25   Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND

               Plaintiff,

        v.                                            Civil Action No. 25-cv-698

CITIBANK, N.A., et al.

               Defendants.


COALITION FOR GREEN CAPITAL

               Plaintiff,

        v.                                            Civil Action No. 25-cv-735

CITIBANK, N.A., et al.

               Defendants.


POWER FORWARD COMMUNITIES,
INC.

               Plaintiff,
                                                     Civil Action No. 25-cv-762
        v.

CITIBANK, N.A., et al.

               Defendants.


                               JOINT STATUS REPORT

     The parties agree to the following schedule:




                                             1
        Case 1:25-cv-00698-TSC           Document 30         Filed 03/19/25      Page 2 of 4




   •   Plaintiffs to file their motions for preliminary injunctions by Friday, March 21.

   •   Defendants to answer the motions by Wednesday, March 26.

   •   Plaintiffs to reply by Friday, March 28.

   •   The Court to hold a hearing on Plaintiffs’ motions on April 1 or April 2. Plaintiffs note
       that counsel for one of the plaintiffs is unavailable on April 3, 4, or 7.

       Plaintiffs propose that they file a single consolidated opening brief with a 60-page limit

and a single consolidated reply brief with a 30-page limit. Plaintiffs make this proposal because

each Plaintiff has distinct facts and will raise distinct arguments on issues such as irreparable harm.

EPA states that the page limits set forth in the Local Rules should apply. Citibank does not take a

position.

Dated: March 19, 2025                              Respectfully submitted:

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                                                  2
Case 1:25-cv-00698-TSC   Document 30   Filed 03/19/25     Page 3 of 4




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                               3
Case 1:25-cv-00698-TSC   Document 30   Filed 03/19/25    Page 4 of 4




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                               4
